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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, ET AL.                                     CIVIL ACTION

VERSUS                                                     No. 22-211-SDD-SDJ

KYLE ARDOIN, in his official capacity
as Secretary of State for Louisiana

and

EDWARD GALMON, SR., ET AL.                                 CIVIL ACTION

VERSUS                                                     No. 22-214-SDD-SDJ

KYLE ARDOIN, in his official capacity
as Secretary of State for Louisiana




                                            ORDER

       On August 29, 2023, Chief Judge Dick issued an Order denying Defendant’s Motion to

Cancel Hearing on Remedy and referring the matter of a pre-hearing scheduling order to

Magistrate Judge Johnson. (R. Doc. 267). After hearing from the parties at two status conferences

(R. Docs. 271, 272), the Court ordered that the parties submit proposed pre-hearing plans

addressing (1) timing of the hearing, (2) whether Plaintiffs would submit a revised remedial map,

(3) whether the parties would introduce new expert witnesses, and (4) discovery and briefing

schedules. (R. Doc. 272). The Parties submitted separate proposals on September 6, 2023. (R. Doc.

273, Defendant; R. Doc. 274, Plaintiffs).

       The parties’ proposals both contemplate the remedial hearing’s remaining on its scheduled

date beginning October 3, 2023. Plaintiffs have decided to forego the opportunity to submit a new

remedial plan. And the parties’ proposed discovery and briefing dates are the same; however, the
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content of the discovery is not agreed. Namely, Defendant’s proposal contemplates only Defendant

submitting expert reports—both supplemental and new; 1 Plaintiffs’ proposal allows for both

supplemental and new expert reports from all parties. The Court has not contemplated and sees no

reason for allowing only one party to submit supplemental and new expert witnesses. Indeed, both

parties should have equal opportunity to present updated discovery before the hearing.

Accordingly,

         IT IS ORDERED that the following pre-hearing deadlines are set:

 Parties Serve Fact Witness Disclosures                                       September 14, 2023

 Parties Serve Expert Reports (Supplemental and New)                          September 15, 2023

 Parties Disclose Rebuttal Expert Witnesses                                   September 18, 2023

 Parties Serve Rebuttal Expert Reports                                        September 28, 2023

 Parties File Witnesses and Exhibit Lists                                     September 29, 2023

 Parties File Pre-Hearing Briefs (limit 30 pages per side)                    September 29, 2023

 Remedial Hearing                                                             October 3-5, 2023 2



         Signed in Baton Rouge, Louisiana, on September 7, 2023.



                                                        S
                                                      SCOTT D. JOHNSON
                                                      UNITED STATES MAGISTRATE JUDGE




1
  As briefly discussed in the minute entry R. Doc. 271, whether the parties are entitled to new expert witnesses or
restricted to supplementing the experts put forth for the original hearing in June 2022 has been a contested issue. At
the status conference on September 1, 2023, the Court expressed its inclination to issue a schedule allowing for new
experts. (R. Doc. 272).
2
  Date and details set in R. Doc. 250.
